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14   Counsel for Defendants

15
                                  UNITED STATES DISTRICT COURT
16                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
17
                                                               Case No. 3:25-cv-1780-WHA
18   AMERICAN FEDERATION OF
     GOVERNMENT EMPLOYEES, et al.
19
                                                               NOTICE IN RESPONSE TO THE
20            Plaintiffs,                                      COURT’S SUPPLEMENT TO THIRD
                                                               REQUEST FOR INFORMATION
21                     v.

22   UNITED STATES OFFICE OF PERSONNEL
     MANAGEMENT, et al.,                                       The Hon. William H. Alsup
23
               Defendants.
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     Notice in Response to the Court’s Supplement to Third Request for Information
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 1           Defendants hereby respectfully respond to this Court’s March 18, 2025, Supplement to
 2   Third Request for Information (“Supplement”), ECF No. 140. In that Supplement, the Court
 3   ordered that relief defendant Department of Defense (“DoD”) “state the extent to which any
 4   rehired probationary employees are being placed on administrative leave” and “provide a
 5   declaration” to the Court. Supplement. Defendants provide the attached declaration from DoD,
 6   explaining how and why probationary employees have been placed on administrative leave. See
 7   Decl. of Timothy D. Dill, attached as Ex. 1. As reflected in that declaration, as to DOD:
 8   “[e]mployees with pending termination notices will remain on administrative leave until the
 9   termination notice is revoked and they are able to complete [DoD] onboarding procedures,” and
10   “[p]reviously terminated employees who have been reinstated are authorized administrative
11   leave dating from the time of their termination until their completion of onboarding procedures.”
12   Dill Decl. ¶ 6.
13   Dated: March 19, 2025                               Respectfully submitted,
14                                                       PATRICK D. ROBBINS (CABN 152288)
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25                                                       s/ Yuri S. Fuchs
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                                                         Counsel for Defendants
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